862 F.2d 870Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Charles Thomas LOCKLEAR, Plaintiff-Appellant,v.Ceasar MANRIQUE;  Mary Woodson;  John Holman;  Bobby W.Soles;  James E. Johnson;  Edward Murray;  WilliamP. Rogers, Defendants-Appellees.
    No. 88-6792.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Oct. 25, 1988.Decided:  Nov. 22, 1988.
    
      Charles Thomas Locklear, appellant pro se.
      Mark Ralph Davis (Office of the Attorney General of Virginia), for appellees.
      Before DONALD RUSSELL, WIDENER and CHAPMAN, Circuit Judges.
      PER CURIAM:
    
    
      1
      Charles Thomas Locklear appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Locklear v. Manrique, C/A No. 87-120-L (W.D.Va. Aug. 18, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    